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                         EXHIBITS




          r
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                                                                EXHIBIT 1 PG 1


                                               U.S.Department ofJustice
                                               Federal Bureau ofPrisons



                                                Washington, DC20534
     Office ofthe General Counsel


                                            March 23, 2021



     MEMORANDUM FOR T. SCARANTINO, COMPLEX WARDEN
                         FEDERAL CORRECTIONAL COMPLEX
                         BUTNER, NORTH CAROLINA

                                        (y VJtLLyfar
     FROM:               Ken Hyle
                         Assistant Director/General Counsel


     SUBJECT;            SHIBIN, Mohammad
                         Federal Register No. 78207-083
                         Request for Reduction in Sentence


      Please be advised that Mr. Shibin's request for a reduction in
      sentence (RIS) pursuant to section 3(a) of Program Statement
      No. 5050.50, Compassionate Release/Reduction in Sentence.
                    forTLl.n,.ntatlon         n.s.C. 85 3582(c (IMA) and
      4205(g) ("Terminal Medical Condition"), is denied.^ e
      carefully reviewed the documentation accompanying this request
      and have consulted with the BOP's Medical Director.
      Section 3(a) of PS 5050.50 provides that RIS consideration may
      be given to an inmate who has been diagnosed with a terminal,
      incurable disease and whose life expectancy is 18 months or less
      or who has a disease or condition with an end-of-life trajectory
      under 18 U.S.C. § 3582(d)(1). In addition, section 7 requires
      in all RIS cases consideration of factors such as the nature and
      circumstances of the inmate's offense and whether release would
      minimize the severity of the offense or pose a danger to the
      safety of any other person or to the community.
      Mr. Shibin is 60 years old and has been diagnosed with stage IV
      castrate-resistant prostate cancer with metastatic disease. His
Case 2:11-cr-00033-JKW-DEM Document 189-2 Filed 07/06/21 Page 3 of 47 PageID# 3665



                                                            EKHIBIT 1 PG 2


     prognosis is poor and his life expectancy is estimated to be
    less than 18 months. Mr. Shibin therefore meets the criteria
     for a RIS under section 3(a).

     However, due to the nature and circumstances of Mr. Shibin's
     offenses, his release at this time would minimize the severity
     of his offenses and pose a danger to the community.
     Accordingly, although he meets the criteria for a RIS under
     section 3(a), his RIS request is denied.

     Please provide Mr. Shibin with a copy of this decision,

     cc: J. C. Petrucci, Regional Director, Mid-Atlantic Region
Case 2:11-cr-00033-JKW-DEM Document 189-2 Filed 07/06/21 Page 4 of 47 PageID# 3666



 CM/ECF - vaed                                                                   exhibit 2 PG 1

                                                                 appeal,closed,interpreter

                                           U.S. District Court

               CRIMINAL McStFOT CASEIlill-cr-OOOSS-RGD-DEM-l
                                                              Date Filed: 03/08/2011
   Case title: USA v. Shibin                                  Date Terminated: 08/14/2012


   Assigned to: District Judge Robert G.
   Doumar
   Referred to: Magistrate Judge Douglas
   E. Miller
    Appeals court case number: 12-4652
   4CCA - Case Manager - Joy Hargett
    Moore


    npfpndant fll
    Mohammad Saalii Shibin
                                                  represented by James Orlando Broccoletti
                                                                 Zoby & Broccoletti
    TERMINATED:08/14/2012                                        6663 Stoney Point S
    also known as                                                Norfolk. VA 23502
    "Khalif Ahmed Shibin"                                        (757)466-0750
    TERMINATED:08/14/2012                                        Fax:757^66-5026
    also known as                                                Email:james@zobybroccoletti.com
     Mohammad Ali                                                attorney to be noticed
     TERMINATED:08/14/2012                                       Designation: CJA Appointment
     also known as
     Ali Jama                                                    Jason Eli Ghana
     TERMINATED:08/14/2012                                       WlDcox & Savage PC
                                                                 Wells Faigo Center
                                                                 440 Monticello Ave
                                                                  Suite 2200
                                                                 Norfolk, VA 23510
                                                                 (757)628-5500
                                                                  Fax:(757)628-5566
                                                                  Email:johana@wilsav.com
                                                                  ATTORNEY TO BE NOTICED
                                                                  Designation: Pro Bono

                                                                  Disposition
      Ponriino Counts
                                                                  Imprisonment - LIFE;Supervised
      T. 18. use 1651,3238. and 2- Piracy                         Release - 5 years; Special Assessment
      under the Law of Nations                                    $100.00; Restitution - $5,000,000.00
      (Is)
                                                                  Imprisonment - LIFE,to be served
                                                                  concurrently; Supervised Release - 5
      T. 18. use 1203(a). 3238, and 2-

                                                                                                10/24/2012
     httos://ecf.vaed.uscourts.eov/c2i-bin/DktRDt.ol?643194221524963-L 452 0-1
Case 2:11-cr-00033-JKW-DEM Document 189-2 Filed 07/06/21 Page 5 of 47 PageID# 3667


CM/ECF - vaed                                                               TtxHTBIT 2 PG 2

                                                         years,to run concurrently; Special
 Conspiracy to Commit Hostage Taking                      Assessment - $100.00
 (2s)                                                    Imprisonment - LIFE,to he served
 T. 18,use 1203(a). 3238,and 2-                           concurrently; Supervised Release - 5
 Hostage Taking                                           years, to run concurrently; Special
                                                          Assessment - $100.00
 (3s)
                                                          Imprisonment- 240 months,to be
  T. 18. use 2280(a)(1)(H).2280^)(1),
  and 3238 - Conspiracy to Comnut                         served concurrently; Supervised
                                                          Release -3 years, to run concurrently;
  Violence Against Maritime Navigation                    Special Assessment - $100.00
  (4s)                                                    ImprisoTunent - 240 months.to be
  T. 18. use 2280(a)(1)(A).2280(b)(1).                     served concurrently; Supervised
  3238,and 2- Violence Against                             Release - 3 years,to run concurrenfly;
  Maritime Navigation                                      Special Assessment - $100.00
  (5s)                                                     Imprisonment-120 months,to be
  T. 18.use 924(c)(1)(A).3238. and 2 -                     served CONSECUTIVELY;Supervised
  Use. Carry,Brandish, and Discharge of                    Release - 5 years, to run concurrently;
   a Firearm During a Crime of Violence                     Special Assessment - $100.00
  (6s)                                                     Imprisonment - LIFE,to be served
                                                           concurrently; Supervised Release
   T. 18,use 1651,3238,and 2- Piracy                        years,to run concurrently; Special
   under the Law of Nations                                 Assessment - $100.00; Restitution -
   (7s)                                                     $408,646.48
                                                            Imprisonment - LIFE,to be served
   T. 18,use 1203(a),3238,and 2-                            concunenUy; Supervised Release - 5
    Conspiracy to Commit Hostage Taking                     years,to run concurrently; Special
   (8s)
                                                            Assessment - $100.00
                                                            Imprisonment - LIFE,to be served
    T. 18, use 1203(a),3238. and 2-                         concurrently; Supervised Release - 5
    Hostage Taking                                           years, to run concurrently; Special
    (9s)
                                                             Assessment - $100.00
                                                             Imprisonment - LIFE,to be served
    T. 18.use 1201(c)and 3238 -                              concurrently; Supervised Release - 5
    Conspiracy to Commit Kidnapping                          years, to run concurrently;Special
    (10s)                                                    Assessment - $100.00
                                                             Imprisonment - LIFE,to be served
    T. 18.use 1201(a)(2),3238, and 2-                        concurrendy; Supervised Release - 5
     Kidnapping                                               years, to run concurrendy; Special
                                                              Assessment - $100.00
    (11s)
                                                             Imprisonment - LIFE,to be served
     T. 18,use 2280(a)(1)(H), 2280(b)(1),                     concunently; Supervised Release - 5
        and 3238 - Conspiracy to Commit                       years, to run concurrendy; Special
        Violence Against Maritime Navigation                  Assessment - $100.00
     (12s)
                                                              Imprisonment - LIFE,to be served
        T. 18. use 2280(a)(1)(A),2280(b)(1).                  concurrendy; Supervised Release - 5
        3238,and 2- Violence Against                          years, to run concurrendy;Special
        Maritime Navigation

                                                                                                10/24/2012
           ://Kf.vaed.uscourts.»v/cal-bin®kUlot.Dl?643194221524963-L 452 0-1
     httos
 Case 2:11-cr-00033-JKW-DEM Document 189-2 Filed 07/06/21 Page 6 of 47 PageID# 3668


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        Stweta-SuptnrtiedRetaie                                                                   KXHIBll Z        ^
CascNunberi              2;11CB00D3MI
oS«d«fs Nam«:            SHIBIN.MOHAMMAD SAAIU
                                           SUPERVISED RELEASE
YEARS. Thistennconsist5ofFIVE(5)YEARSoneachofCount5lA3.6.7.8.9.JD.ii. A
term ofTHREE(3)YEARS on each ofCounts4 and 5,all to run concurrently.
   The P„4»Uon Om« « provid.4.« d.r«Un.»e..ccp,ofa«                             co».U»n.
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 release
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         defcndam shall notofcommit
                             the Bureau ofPrisons.
                                    mother fed^stowlo^^                      defenjant sheU lellain fiom my oniawM use
 ofa'^onlStSlrS^SiSKlslta to one dmg test withm 15 days of mlease ftom impnmmmm.md
 my".Sa'^lS
 ^eet ofthisjudgment.
                                             wSthe Shmltlle of Payments set fonh in the Oimimtl Monettny Pmah'tes
                                  STANDARD CONDITIONS OF SUPERVISION
  The delendm.shall comply Wtth tlm sntndmd
  11 1SSftS'r^JSJ »tilSltarfflea'«.<!«S.i.a tntlhlhl and complete wntten mpo« within the
  3, S::'^7wSt1S5''3S't™thfolly ail immWes b, the pndmtion ome.- and tbllow the instnmtlons of dm
  ?, E5Siil3",S^Sri%XSriSi;i;Sr™i^S                                                                    oBeer for schooling.
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  „ ST^todl'SS'Tfretimmt places wltme conoolled mhstmees are iilegaily sold. nsed. distribnted. or
  9) 'mtd'lSt shall not associate with my persona enp^ in crimiml^         not sssociate with my
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   ,,,
         enforcement officer,                                            mrnrmei- for a snecial agent of a law enforcement
   12) the defendant
       agency widioutshall not cn^ into
                      the permission oftheany agreement touactn as an rhis.H
                                           court;                     informer    forofa special
                                                                             napties     risks thatagemay be occasioned by the
   ">                                                                         S.- penuUthe PB^o.omeertonrnhe sneh
         notifications and to confirm the defendant's compliance with such notification require
  Case 2:11-cr-00033-JKW-DEM Document 189-2 Filed 07/06/21 Page 7 of 47 PageID# 3669




      Shed 3A -Sapmiwl Retaie                                                               ■
r«» Number                2:IICR00033-OI                                                  EXHIBIT 2 PG 5
SSSnSiName:               SHIBIN.MOHAMMAD SAAIU
                               SPECIAL CONDITIONS OF SUPERVISION
                                           .. . J   . ,1..          Shall also comply with the following additional
While on supervised release pursuant to this Judgment,
special conditions:

    1) As a condition                                        tto
        surrendered to a duly-authon^'              Srtation reviw in accordance with established procedures
      ^^SiS'r'SXi^SSlMonMt.S U.S,C.Soction IIOI.«.«|.
    2, AS atothar condition ofsnpcntiscd ntlcasc.ifordcntd dcpowd,tint defendant sh.il t«n.i.otttsld.ofthe
         United States.
Case 2:11-cr-00033-JKW-DEM Document 189-2 Filed 07/06/21 Page 8 of 47 PageID# 3670




                                                                EXHIBIT 4 PG 1
     From: Hinda Adan Ala

            Bossaso, Puntland Somalia

            Telephone: +252907726614
                                                                 4 April 2021



      To whom it may concern.



      RE: Mr. Mohammad S. Shibin Case. Reg. No.78207-083



      I am writing on behalf of myself, the half sister of Mr. Mohamed, and
      my family. Mr. Mohamed has been in US prison for almost 10 years now.
      Since then his health has deteriorated rapidly. He has applied for
      compassionate release on the basis of his worsening health condition.
      His request was then rejected by the court due to the assumption he is
      still a risk to his country (Somalia), should he be released.


      Before this peculiar incident, my bother remained proven fine and
      responsible character, a good man with a sense of humor who used to
      support his family and the community at large. He has never attended or
      been part of any armed conflict or combat in Somalia.


      We, the family are feeling the pain that he still remains behind the
      bars for a crime we believe he was innocent of. We can confirm that he
      poses no threat or risks at all to the country or the community.


      We, therefore, humbly request for reconsideration of his compassionate
      release request to enable him reestablish his life back home and recover
      from the terrible illnesses. The family hereby also confirm taking care
      of Mr. Mohamed and provide him every support he dearly requires


      Sincerely,

      Hinda Adan



      I
              Commonwealth of Pennsylvania
                   Department of Education
In recognition of having met the requirements
Commonwealth Secondary School Diploma as set forth             >
Snr72            Pennsylvania Code,this diploma is conferred
upon
                   MQHAMiyiAn S SHIBIN
                               Date Issued; 3/21/2014
                     Given under the seal of the
                     Department of Education
            ^o\ Commonwealth of Pennsylvania
                     at Harrisburg
                                          0 AV^Atl
                                                                   Case 2:11-cr-00033-JKW-DEM Document 189-2 Filed 07/06/21 Page 9 of 47 PageID# 3671
                                        Case 2:11-cr-00033-JKW-DEM Document 189-2 Filed 07/06/21 Page 10 of 47 PageID# 3672




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                                                                                              GED® Administrator
                                                 Executive Director

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Has successfully completed all the necessary
  requirements at U.S.P. Canaan for the
                                program

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                  &'€/VC   T^S'P SM'MM"   .
                                                   Case 2:11-cr-00033-JKW-DEM Document 189-2 Filed 07/06/21 Page 11 of 47 PageID# 3673




    I6y             D. 7. S.
 Case 2:11-cr-00033-JKW-DEM Document 189-2 Filed 07/06/21 Page 12 of 47 PageID# 3674
                                                                                        EXHIBrr 5 PG 4

                                                                                                           SEQUENCE: 01718700
              Individualized Needs Plan - Program Review (Inmate Copy)
                                Dept. of Justice / Federal Bureau of Prisons                        Team Date: 03-23-2021
                       is for inmate: SHIBIN. KOBAlOnS SAAILI       78207-083

           Facility;    BUH BUTNER PMC                                   Proj. Rei. Date: UNKNOWN
            Name:       SHIBIN, MOHAMMAD SAAILI                          Proj. Rel. Mthd: LIFE
      Register No.:     78207-083                                           DNA Status:      CAA03332 / 09-06-2012
              Age:      60
      Date of Birth:     12-13-1960
Detainers
[Detaining Agency                                     Remarks

ICE                                                   INVESTIGATION INTO THE REMOVAL FROM THE UNITED

Current Work Asslgnmei^
                                                                                Start

BUH         UNASSI6NED       NO WORK ASSIGNMENT                                 11-24-2020

Current Education information
[Fad        Assignment       Description                                        Start

BUH         ESLHAS           ENGLISH PROFICIENT                                 05-14-2013

BUH         GED EARNED       GED EARNED IN BOP                                  02-11-2014
                             ^ ..       r', I - - ^          ■■ ^
Education Courses
[SubFacI Action              Description                                        Start                Stop
                                                                                06-01-2018          0603-2018
BTFGP        c               ALTERNATIVE TO VIOLENCE
                             INTRODUCTION TO EDUCATION                          04-30-2018           05-15-2016
BTFGP        c
                             WELLNESS ABDOMINALS CLASS                          01-03-2018           0308-2018
BUH MS       C
                             WELLNESS AEROBICS CLASS                            03-14-2017           0609-2017
BUH MS       C
BUH MS       c               ADVANCED WEU ABS CLASS                             05-21-2017           0^09-2017
                                                                                03-04-2017           03-04-2017
BUH MS       c               WELLNESS AEROBICS CLASS            t
                              WELLNESS AEROBICS CLASS                           03-04-2017           03-04-2017
BUH MS        c
                                                                                11-04-2016           11-25-2016
BUH MS        c              ADV WELLNESS SPIN CLASS
                              HEALTH FAIR                                       11-10-2016           11-20-2016
BUH MS        c
                                                                                10-23-2015           12-21-2015
CAACHG        c               RPP6 ANGER MANAGEMENT
                                                                                06-08-2015           09-17-2015
CAACH6        c               VOCATIONAL CULINARY PROGRAM.
                                                                                04-04-2014           04-04-2014
CAACHG        c               RPP6 COMMUNICATION SKILLS
                              GED 114 12:45-320 PM                              12-18-2013           02-11-2014
 CAACHG       c
                                                                                01-28-2014           01-28-2014
 CAACHG       c               RPP6 REVIEWING MY DRUG USE
                                                                                12-02-2013           01-28-2014
 CAACHG       c               REMEDIAL ON ALL GED SUBJECTS.
                              PRE-GED 114 10:10-12:10                           05-14-2013           12-18-2013
 CAACHG       w
                                                                                07-15-2013           1102-2013
 CAA          c               COMPUTER
                                                                                09-23-2013           11-13-2013
 CAA          c               LEATHER
                              PARENTING 2                                       08-17-2013           09-27-2013
 CAA          c
                              ADVANCED CONVERSATIONAL SPAN.                     07-16-2013           0903-2013
 CAA          c
                              PARENTING CLASS                                   06-20-2013           08-17-2013
 CAA          c
                              CONVERSATIONAL SPANISH CLASS                      054)6-2013           06-20-2013
 CAA          c
                              ESL 108 9:30-11:30AM                              04-09-2013           05-14-2013
 CAA          c
                              ENGLISH SECOND LANG 12:45-320                     02-01-2013           04-09-2013
 CAA          w                                                                                        t
                                                                                01-16-2013           03-25-2013
 CAA          w               COURSE ON SOLAR SYSTEM.


iHearino Date                 Prohibited Acts.                                                                                     1
 -• NO INCIDENT REPORTS FOfJND IN LAST6 MONTHS"

 Current Care Msignmehts     :
[Assignment          Description                                                Start                                              1
 CARE1-MH                     CARE1-MENTAL HEALTH                               09-17-2012
 CARE4                        MRC CARE REQUIRED                                 08-262020

 Current Medical Duty Status Assignments
[Assignment                   Description                                       Start                                              1
 NO PAPER                     NO PAPER MEDICAL RECORD                           09-062012


 Sentry Data as of 03-25-2021               Individualized Needs Plan - Program Review (Inmate Copy)                 Page 1 of 3
Case 2:11-cr-00033-JKW-DEM Document 189-2 Filed 07/06/21 Page 13 of 47 PageID# 3675




                                                                                      Certificate of
                                                                                      Conipletion
                                                                                                     This certifies that:
                                                                                       Mohammad Shibin(78207-083)
                                                                                            Completed the Non-Residential
                                                                                               Drug Abuse Program at the
                                                                                       United States Penitentiary, Canaan,PA
                                                                                                                              January 28, 2014
                                                                                          T.Cowen,Drug Treatment Specialist
                                                                                    3fH-ll-n-li-n-n-]l-11-li-ii-ii-'l-HHH"i n n -" ^                                                          ^       ,                    ^.,            ''"'„:
                                                                                    ' ',, , ,,,. ,, ■ .           •: r.. .;         i.                                 ■• ' ■ ■I'V'ii : ,             ' 'I ' iil'' .-
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                                                        >*•••****




    This certificate of appreciation is presented to
                    Mnnammafl SMMn_
                                   for
                     Dedication and service as a tutor for
                    USP Canaan's Education Department
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                                                                           Ul

     Jgr.-.,                                                        Date   nj
                                                                           ffJ
        Signature                                                          00




                                USP CANAAN
                                                                                 Case 2:11-cr-00033-JKW-DEM Document 189-2 Filed 07/06/21 Page 15 of 47 PageID# 3677




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Case 2:11-cr-00033-JKW-DEM Document 189-2 Filed 07/06/21 Page 16 of 47 PageID# 3678




                                                     exhibit 5 PG 9




                                                                   1
              USP CANAAN


                 THIS CERTIFIES THAT


       Mohammad Shibirx
has successfthly completed the Adolt Contimimg Education Class
                     TYPING
                         August 2013




                                              c.
                                                  C-BaJl, ACE Coordinator
                                                                            Case 2:11-cr-00033-JKW-DEM Document 189-2 Filed 07/06/21 Page 17 of 47 PageID# 3679
                                               —L -lu ini-iII iiinin'




               USP CANAAN


                  THIS CKR'nFIES THAT

                         . Shibin
has successfuUy compkted the Adttlt Contmttittg Education cotKse


                          August 2013




                                                           T. Sal^faeda,Teachei
                                                                                  Case 2:11-cr-00033-JKW-DEM Document 189-2 Filed 07/06/21 Page 18 of 47 PageID# 3680
           USP CANAAN

              this certifies TH.'iX

               M. Shibin
has successMy co..pl«ed Ad^t ConWag Educadon cou.se
            PARENTING II
                     August 2013




                                          T. Salzaafcda,Teacher
                                                                  Case 2:11-cr-00033-JKW-DEM Document 189-2 Filed 07/06/21 Page 19 of 47 PageID# 3681
         USP CANAAN

            THIS CERTIFIES TIUT


   Mohammad Shibin
snccessMy completed the Adult Connnumg Education Class
              SPANISH 2
                       August 2013




                                           CBall. ACE Cooidioator




               • •AV
                                                                    Case 2:11-cr-00033-JKW-DEM Document 189-2 Filed 07/06/21 Page 20 of 47 PageID# 3682




                           .'A;.-
CERTIFICATION
MOHAMMAD SHIBIN
far suo«slully completing tHe .tondords set forth for the ServSole- Food Proledion Manager C^Rcction
wKicK is oceredited by ibe American National Standards Institute (ANSIKonference for Food Protection (CFP|.


   '598113                                                5043

                         lUMBER                           EXAM FCiRM NUMBER

                                                          7/20/2020.-

DATE OF                                                    DATE OF EXPIRATION
local laws apply- *^1^                            o©ncy For recertlRcaiioft raquirdments.




                           9      twkiTte'k ^tK« N2AEF.

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                                                                                                                              Case 2:11-cr-00033-JKW-DEM Document 189-2 Filed 07/06/21 Page 21 of 47 PageID# 3683
               USP CANAAN


                  THIS CERTIFIES THAT


       Mohammad Shibin
has successfully completed the Adult Continuing Education Class;
            BASIC LITERACY
                         January 2014




                                                   C.Ball, ACE Coordinator
                                                                             Case 2:11-cr-00033-JKW-DEM Document 189-2 Filed 07/06/21 Page 22 of 47 PageID# 3684
              USP CANAAN


           this certifies that


                  M. Shibin
has successfully tutored the Adult Contifluing Education course
       ULTIMATE NATURE
                       September, 2014




                                              T. Scdofomedcv, Tecu:her
                             tiVliA i-;
                                                                         Case 2:11-cr-00033-JKW-DEM Document 189-2 Filed 07/06/21 Page 23 of 47 PageID# 3685




                               ■r
 CM/ECF - vaed                                                                  exhibit 2 PG 3
                                                           Assessment - $100.00
  (13s)                                                    Imprisonment - LIFE,to he served
  T. 18,use 924(c)(1)(A),3238,and 2-                       CONSECUTIVELY;Supervised
  Use,Cany,Brandish, and Discharge of                      Release - 5 years, to run concurrently;
   a Firearm During a Crime of Violence                     Special Assessment - $100.00
   (14s-15s)
   Hjphest Qfft'nse Level(Opening)
   Felony
                                                            Disposltiifin
                  Counts
    T. 18,use 1651,3238 and 2- Piracy                        Superseding Indictment filed 8/17/11
    under the Law of Nations
   (1)
    T. 18, use 1201(c)and 3238 -                             Superseding Indictment filed 8/17/11
    Conspiracy to Commit Kidnapping
    (2)
    T 18,use 924(c)(l)(A)(iii) and(B)
    (ii), 3238 and 2- Possess. Use,Carry,                     Superseding Indictment filed 8/17/11
     Brandish and Discharge of a Firearm
     During a Crime of Violence
    (3)
               nffense     (Terminated)
     Felony
                                                              nispositiop
     rmnplaints
      None
      Plaintiff                                  represented by Joseph E.DePadiUa
      USA                                                      United States Attorney s Office
                                                               101W Main St
                                                               Suite 8000
                                                                Norfolk, VA 23510
                                                                ♦»NA»*
                                                                (757)441-6331
                                                                Fax; (757) 441-6689
                                                                Email: ioe.depadilla@usdoj.gov
                                                                lead ATTORNEY
                                                                attorney to be noticed
                                                                Benjamin Lucas Hatch
                                                                United States Attorney's Office -
                                                                 Norfolk
                                                                                                 10/24/2012
       httDs://ecf.vaed.uscourts.eov/cei-bin/DkiRDt.Dl?6431^221524963 L 452
Case 2:11-cr-00033-JKW-DEM Document 189-2 Filed 07/06/21 Page 24 of 47 PageID# 3686
                 this certificate is awarded to:

           Mohammad Shibin

recognitton of hisperformance as an Inmate Companion Program since
                   Yebruary 26, 2014


                                                                 WcklTMk
                                                   :.D.. Staff Psychologist
                                                                              Case 2:11-cr-00033-JKW-DEM Document 189-2 Filed 07/06/21 Page 25 of 47 PageID# 3687
              Mohammad Shibin
               Reg. No. 78207-083
This certifies that the above nanned inmate has
                successfuliv completed the
                    Living Free Program
   at the united states penitentiary - Canaan
   April 14, 2014
                                          Dr. C. cn'mm, Chief
       Date                                  psychologist
                                                                Case 2:11-cr-00033-JKW-DEM Document 189-2 Filed 07/06/21 Page 26 of 47 PageID# 3688
           'yfti-.r-..




                                    SBs^yrS


                         'A.




                                        E111L^1L»>
                                              Hi
     has completed the one hpur Release Preparation Class

conducted by the Psychology Services Department at US? Canaan.
                                                                         Case 2:11-cr-00033-JKW-DEM Document 189-2 Filed 07/06/21 Page 27 of 47 PageID# 3689




                                      Dr. G. Grimm, Chief Psychologist
Case 2:11-cr-00033-JKW-DEM Document 189-2 Filed 07/06/21 Page 28 of 47 PageID# 3690



                                                         F.XHIBIT 6 PG 1




   HFOUND ONE SuppQT^tinpi Facts:
        (1) Movant was tried on 15 counts for the capture and piracy
    of a German vessel (Marldajtarauerlte) and an American sailing
    vessel (SH^). on the "High Seas." ^
    722 F.3d 233 (4th Cir. 2013).
          The Movant was ultimately found guilty on all
    sentenced to 12 Life terms of imprisonment; a consecutive
    month term of imprisonment; and several concurrent 240-month
    terms.


        (ii) Before trial, Movanfs attorney James Orlando Brocco-
    letti, conveyed the Government's oral plea offer to the Movant.
     This initial plea offer was made pursuant to the August 17, 2011,
     superseding indictment in this case. The Movant has further
     filed for more information concerning the Government's plea
     offer, under the Freedom of Information Act/Privacy; the request
     is still pending (see F.x. 1, F.O.I.A.).
          (iii) Per Mr. Broccoletti. the Government offered the
     following plea: Because the Government estimated my remaining
                                        on        vears, a deal for half my
     Life expectancy to be between 20 to 25 years,
     remaining life expectancy was extended.
           (iv) After being told the Government's offer, to the best
      of my knowledge and belief, the following conversation with Mr.
      Broccoletti occurred:
                 Movant: "Will there be a written agreement?"
                  Mr. Broccoletti: "No, you will be at the
                  mercy of the judge."
                  Movant: "I would accept an                       get
                  written, I will thxnk about it, but try          g
                  the agreement in writing.
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                                            UNITED STATES OF AMERICA v. TYRONE TIDWELL
                  UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                                             2020 U.S. Dist. LEXIS 139434
                                                            CRIMINAL ACTION NO.94-353
                                                                August 5, 2020, Decided
                                                                 August 5, 2020, Filed


           Editorial Information; Prior History
           United States v. Tidwell, 1995 U.S. Dist. LEXIS 19153{E.D. Pa.. Dec. 22,1995)
           Counsei                                    {2020 U.S. Dist. LEXIS 1}For USA. Plaintiff: EILEEN CASTILLA
                           ZELEK. U.S. ATTORNEY OFFICE - EDPA. LEAD ATTORNEY. PHILADELPHIA. PA; LEAD
                           ATTORNEY. SETH WEBER. QUAKERTOWN. PA; TOMiKA N.S. PATTERSON. UNITED
                           STATES ATTORNEY'S OFFICE, PHILADELPHIA, PA.
          Judges: CYNTHIA M. RUFE, J.

           CASE SUMMARYPrisoner's motion to reduce sentence pursuant to the First Step Act was granted
           because extraordinary and compelling reasons existed to reduce sentence as it was established that
           Bureau of Prison cannot adequately protect prisoner from infection, especially in light of his vulnerability
           and presence of COVID-19 where prisoner serving his sentence.

           OVERVIEW: HOLDINGS:[1]-Prisoner's motion to reduce sentence pursuant to the compassionate
           release provision of the First Step Act was granted because extraordinary and compelling reasons
           existed to reduce defendant's sentence as it was established that Bureau of Prison cannot adequately
           protect prisoner from infection, especially in light of his vulnerability and the presence of COViD-19 at
           the medical center where prisoner serving his sentence.

           OUTCOME: Motion granted.


           LexisNexis Headnotes

           Criminal Law & Procedure > Sentencing > imposition > Factors
           Criminal Law & Procedure > Sentencing > Conecdons, Mddifications & Reductions
          A court generally may not correct or modify a prison sentence once it has been imposed, unless
          permitted by statute or by Fed. R. Grim. P. 35. One statute that pennits such modifications is 18
          U.S.C.S.§ 3582 (c)(1)(A)(i). which, as amended by the First Step Act of 2018. allows prisoners the right
          to file their own motions for a sentence reduction if they first exhaust the statute's procedures for initially
          making a request to the warden to file a motion on their behalf. Once a defendant's administrative
          remedies are exhausted, a court may grant compassionate release based upon: consideration of the
          factors set forth in 18 U.S.C.S.§ 3553(a). a finding that extraordinary and compelling reasons warrant
           such a reduction; and a determination that the reduction is consistent with applicable policy statements
           issued by the Sentencing Commission.

           Criminal Law & Procedure > Sentencing > Corrections, Modifications & Reductions > Court's
           Authority

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           In order to obtain relief, a defendant would petition the Bureau of Prisons to seek compassionate release
           on his or her behalf, and, if the Bureau of Prisons deemed the defendant's petition worthy, it would
           subsequently move the sentencing court for relief. Absent such a motion, sentencing courts had no
           authority to modify a prisoner's sentence for extraordinary and compelling reasons.

           Criminal Law & Procedure > Sentencing > Correcdons, Modifications & Reductions

           The title of the First Step Act's provision that enacted the exhaustion regime is Increasing the Use and
           Transparency of Compassionate Release and under the new regime, the exhaustion requirement is met
           if the defendant establishes either (1)that the Bureau of Prisons denied his or her request that it bring a
           compassionate-release motion and he or she fully exhausted all administrative appeal rights with respect
           to that denial, or(2)that the warden of the facility took no action on his or her request for the filing of a
           compassionate-release motion within 30 days of receiving it. Significantly, Congress intended the 30-day
           exhaustion period to be an accelerant, not a barrier, to judicial review.

           Criminal Law & Procedure > Sentencing > Corrections, Modifications & Reductions
           A denial of a compassionate release request by the General Counsel of the Bureau of Prisons constitutes
           a final administrative decision and an inmate may not appeal the denial through the Administrative
           Remedy Procedure. 28 C.F.R. § 571.63(d).

           Criminal Law & Procedure > Sentencing > Corrections, Modidcations & Reductions

           Congress delegated the authority to define extraordinary and compelling reasons to the United States
           Sentencing Commission. In accordance with this authority, the Sentencing Commission has issued a
           policy statement defining the term. The policy statement explains that, in two situations, the medical
           condition of the defendant provides extraordinary and compelling reasons. First, release may be
           warranted where the defendant is suffering from a terminal illness, i.e., a serious and advanced illness
           with an end of life trajectory. A specific prognosis of life expectancy, i.e., a probability of death within a
           specific time period, is not required. Second, release may also be warranted where the defendant is
           suffering from a serious physical or medical condition that substantially diminishes the ability of the
           defendant to provide self-care within the environment of a correctional facility and from which he or she
           is not expected to recover. The policy statement also provides a catch-all provision for situations where
           there exists in the defendant's case an extraordinary and compelling reason other than, or in combination
           with, the other reasons described.

           Criminal Law & Procedure > Postconviction Proceedings > imprisonment

           Correctional and detention facilities can include custody, housing, education, recreation, healthcare, food
           service, and workplace components in a single physical setting.

           Criminal Law & Procedure > Sentencing > Imposition > Factors

           The applicable factors are;(1) the nature and circumstances of the offense and the history and
           characteristics of the defendant,(2)the need for the sentence imposed~(A)to reflect the seriousness of
           the offense, to promote respect for the law, and to provide just punishment for the offense,(B)to afford
           adequate deterrence to criminal conduct;(C)to protect the public from further crimes of the defendant;
           and (D)to provide the defendant with needed educational or vocational training, medical care, or other
           correctional treatment in the most effective manner; and (6)the need to avoid unwarranted sentence
           disparities among defendants with similar records who have been found guilty of similar conduct.


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          Although the government concedes that there are extraordinary and compelling reasons, the govemment
          argues that Tldwell is not entitled to relief based on these factors.

           Criminal Law & Procedure > Sentencing > Imposition > Factors

          Any review of the 18 U.S.C.S. § 3553(a)factors must consider the most up-to-date picture of the
          defendant's history and characteristics, including evidence of rehabilitation.
           Criminal Law & Procedure > Sentencing > Imposition > Factors
           Civil Rights Law > Prisoner Rights > Medical Treatment

           Congress's primary goal in enacting The inquiry, however, is not whether the prison is able to manage
          the defendant's medical conditions, rather the Court must determine whether incarceration is needed to
          provide the defendant with necessary medical care. 18 U.S.C.S. § 3553(a)(6) was to promote national
          uniformity in sentencing. However,§ 3553(a)(6) disallows unwarranted sentence disparities, not all
          sentence differences. Congress originally passed § 3582(c)(1)(A)(i) as a safety valve to reduce a
          sentence in the unusual case in which the defendant's circumstances are so changed that it would be
          inequitable to continue the confinement of the prisoner.

           Criminal Law & Procedure > Sentencing > Imposition > Factors

           When a defendant demonstrates that extraordinary and compelling reasons warrant a sentence
           reduction, the ensuing sentence disparity has been authorized by Congress, and is therefore a warranted
           disparity.

           Criminal Law & Procedure > Sentencing > impoation > Factors
           Criminal Law & Procedure > Bail > Dangerousness
           Criminal Law & Procedure > Bail > Risk ofFlight

           Sentencing Commission policy statements require the Court to determine that the defendant is not a
           danger to the safety of any other person or to the community, as provided in 18 U.S.C.S.§ 3142(g). U.S.
          Sentencing Guidelines Manual § 161.13(2). Pursuant to 18 U.S.C.S. § 3142(g), courts must consider a
          series of factors-weighing both the defendant's possible danger to the community and the defendant's
          likelihood to appear at trial-when deciding whether to release a defendant pre-trial. The factors that weigh
          danger to the community include the nature and circumstances of the offense charged, the history and
          characteristics of the person, including the person's character, physical and mental condition, family ties,
          community ties, past conduct, history relating to drug or alcohol abuse, and criminal history, and the
          nature and seriousness of the danger to any person or the community that would be posed by the
           person's release.


                                                                              Opinion

           Opinion by:                      CYNTHIA M. RUFE

                                                                              Opinion



                MEMORANDUM OPINiON

                Rufe, J.

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                Tyrone Tidwell. a 62-year-old terminally ill defendant with a life expectancy of less than a year, who
                has served close to 26 years of a sentence of life imprisonment, has filed a motion to reduce
                sentence pursuant to the compassionate release provision of the First Step Act, 18 U.S.C.§
                3582(c)(1)(A}. Tidwell's motion is based on his illnesses-which include his metastatic (stage IV)
                prostate cancer, hepatitis C, and hypertension~the COVID-19 pandemic, and his significant
                rehabilitation in prison. The government opposes Tidwell's motion. Having carefully reviewed the
                parties' submissions, and the available record, the Court will grant Tidwell's motion.
                I. BACKGROUND

                Between 1989 and 1991, Tidwell ran a drug distribution network in Philadelphia, Pennsylvania.1 On
                September 7,1994, a federal grand jury returned a 23-count indictment that charged Tidwell with
                one count of conspiracy to distribute more than five kilograms of cocaine in{2020 U.S. Diet. LEXIS
                2} violation of 21 U.S.C. § 846, one count of engaging in a continuing criminal enterprise f'CCE") in
                violation of 21 U.S.C.§ 848, two counts of murder in furtherance of a CCE in violation of 21 U.S.C.§
                848(e)(1)(A), six counts of possession with intent to distribute more than 500 grams of cocaine in
                violation of 21 U.S.C.§ 841(a)(1), three counts of tax evasion in violation of 26 U.S.C.§ 7201, nine
                counts of possession of a firearm by a convicted felon in violation of 18 U.S.C.§ 922(g)(1), and one
                count of criminal forfeiture pursuant to 21 U.S.C.§ 853(a).2 Tidwell has been in custody since
                Septembers, 1994.
                On December 4,1996, several days into his trial, Tidwell informed the District Court judge that he
                wished to change his plea to guilty.3 One year after his guilty plea, on December 4,1997,the District
                Court judge "vacated the conspiracy conviction (Count 1)and sentenced Tidwell to life imprisonment
                on the continuing criminal enterprise charge(Count 2), life imprisonment without the possibility of
                parole on the murder charges(Counts 3 and 4), 40 years' incarceration on each of the possession
                with intent to distribute charges(Counts 5-10), five years' incarceration on each of the tax evasion
                charges(Counts 11-13), and ten years' incarceration on each of the charges of possession of a
                firearm{2020 U.S. Dist. LEXIS 3} by a convicted felon (Counts 14-22)," all to run concurrently.4
               Much has changed in the last quarter-century. Tidwell is now 62 years old, he suffers from metastatic
               (stage IV) prostate cancer, hepatitis C, and hypertension, and he has less than a year to live. A
               pandemic is sweeping across the world, and it has infiltrated the Federal Medical Center, Butner
               ("FMC Butner")-where Tidwell is serving his sentence. Tidwell has also rehabilitated himself into a
               "model inmate" who no longer poses a danger to the community. Based on these changed
                circumstances, Tidwell seeks compassionate release from federal custody.
                II. LEGAL STANDARD

                "A court generally may not correct or modify a prison sentence once it has been imposed, unless
                permitted by statute or by Federal Rule of Criminal Procedure 35."5 One statute that permits such
                modifications is 18 U.S.C.§ 3582 (c)(1)(A)(i), which, as amended by the First Step Act of 2018,
                allows "prisoners the right to file their own motions for a sentence reduction if they first exhaust the
                statute's procedures for initially making a request to the warden to file a motion on their behalf."6
                "Once a defendant's administrative remedies are exhausted, a court may grant compassionate
                release based upon: consideration of{2020 U.S. Dist LEXIS 4}the factors set forth in 18 U.S.C.§
                3553(a); a finding that 'extraordinary and compelling reasons warrant such a reduction'; and a
                determination that the reduction is 'consistent with applicable policy statements issued by the
                Sentencing Commission.'"7
                III. DISCUSSION



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                A. Whether Tidwell has Satisfied the Exhaustion Requirement
                "The Compassionate Reiease Statute was originally enacted as part of the Parole Reorganization
                Act of 1976" and,"as part of the Comprehensive Crime Control Act of 1984,[Congress]enacted the
                modern form of the Compassionate Reiease Statute contained in 18 U.S.C.§ 3582."8 In both the
                1976 and the 1984 compassionate reiease provisions, the Bureau of Prisons("BOP")acted "as a
                gatekeeper for all compassionate release motions."9 In order to obtain relief,"[a] defendant would
                petition the BOP to seek compassionate reiease on his or her behalf, and, if the BOP deemed the
                defendant's petition worthy, it would subsequently move the sentencing court for relief."10 "[A]bsent
                such a motion, sentencing courts had no authority to modify a prisoner's sentence for extraordinary
                and compelling reasons."11
                In 2018, recognizing the BOP's "grim history" of approving{2020 U.S. Dist. LEXIS 5}
                compassionate release requests,12 and "in an effort to expand the use of compassionate release
                sentence reductions,"13 Congress passed the First Step Act. "The title of the First Step Act's
                provision that enacted [the] exhaustion regime is 'Increasing the Use and Transparency of
                Compassionate Release'"14 and under the new regime,"[t]he exhaustion requirement is met if the
                defendant establishes either(1)that the Bureau of Prisons denied his or her request that it bring a
                compassionate-release motion and he or she fully exhausted all administrative appeal rights with
                respect to that denial, or(2)that the warden of the facility took no action on his or her request for the
                filing of a comoassionate-reiease motion within 30 days of receiving it."15 Significantly,"Congress
                intended the 30-day exhaustion period to be an 'accelerant,' not a barrier, to judicial review."16
                On December 18,2019, Tidwell filed a request to the warden of FMC Butner for compassionate
                release based on his stage IV prostate cancer.17 The warden did not act on this request until
                February 27, 2020-71 days later-when he sent a letter to the BOP Assistant Director/General
                Counsel "recommending [that] consideration be given"{2020 U.S. Dist. LEXIS 6} to Tidwell's
                request.18 A month later, the request was denied.19 On May 12, 2020, Tidwell filed his Motion to
                Reduce Sentence in this Court.

                Tidwell appears to have satisfied the exhaustion requirement-the warden took no action on his
                request within 30 days of receiving it and, in a final administrative decision, the BOP denied his
                request.20 Nonetheless, the government argues that Tidwell's request to the warden did not exhaust
                his administrative remedies because the request, which was filed before the COVID-19 pandemic,
                did not mention COVID-19. According to the government, the BOP should have the opportunity to
                reevaluate Tidwell's request in light of COViD-19.21
                The Court rejects the government's argument for two reasons. First, Tidwell's request to the warden
                was predicated on his serious health conditions. He now seeks relief based on those same
                conditions; the only difference is that the COViD-19 pandemic has amplified the risk to his heaith.22
                "Asking [Tidwell] to restart his process because of the COViD-19 pandemic would be tantamount to
                telling inmates that they must restart the process each time their condition deteriorates. That, clearly,
                is not the purpose of the statute."23
                As explained above. Congress's unmistakable goal in passing the First Step Act was to "increase the
                use of compassionate reiease"24 and the way that "Congress chose to achieve this goal" was by
                "changing]the process by which compassionate reiease could be obtained"25 with the intent for
                "the judiciary to take on the role that the BOP once held under the pre-Flrst Step Act
                Compassionate Release Statute to be the essential adjudicator of compassionate reiease
                requests."26 Under the govemment's theory, every change in Tidwell's condition or in the extent of
                COVID-19 at Butner would require a new request so that the BOP could assess the exact risk at that


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                moment.27 The Court will not create additional barriers when the intent of the First Step Act was to
                reduce them.

                Second, the BOP already had the opportunity to evaluate Tidwell's health conditions in light of the
                COVID-19 pandemic. By the time the warden forwarded Tidwell's request with the recommendation
                that it be given consideration, the COVID-19 pandemic was already a major concern, and the BOP
                surely was aware of it. As Tidwell points out, on the same day that his request was denied, Attorney
                General William Barr released a memo to the BOP with instructions to prioritize home confinement
                as an appropriate response to the COVID-19 pandemic.28 Under these circumstances, Tidwell has
                met the exhaustion requirement.
                B. Whether "Extraordinary or Compelling Reasons" Warrant Reducing Tidwell's Sentence
                Congress delegated the authority to define "extraordinary and compelling reasons" to the United
                States Sentencing Commission.29 In accordance with this authority, the Sentencing Commission has
                issued a policy statement defining the term. Relevant to Tidwell's motion, the policy statement
                explains that, in two situations, the "medical condition of the defendant" provides{2020 U.S. Diet.
                LEXIS 9}"extraordinary and compeiiing reasons."30 First, release may be warranted where:
                      The defendant is suffering from a terminal illness (i.e., a serious and advanced iliness with an
                      end of life trajectory). A specific prognosis of life expectancy (i.e., a probabiiity of death within a
                      specific time period) is not required. Examples include metastatic solid-tumor cancer,
                      amyotrophic lateral sclerosis(ALS), endstage organ disease, and advanced dementia.31
                Second, release may also be warranted where "[t]he defendant is... suffering from a serious
                physical or medical condition... that substantiaiiy diminishes the ability of the defendant to provide
                seif-care within the environment of a correctionai facility and from which he or she is not expected to
                recover."32 The poiicy statement aiso provides a catch-ali provision for situations where "there exists
                in the defendant's case an extraordinary and compeiiing reason other than, or in combination with,
                the [other] reasons described."33
                1. Tidwell's Terminal Illness

                Tidweil suffers from metastatic prostate cancer-which the Sentencing Commission specifically cited
                as an example of a terminal illness constituting an extraordinary{2020 U.S. Dist. LEXIS 10} and
                compelling reason. Moreover, although "a specific prognosis of life expectancy" is not required, on
                Tidweil's February 3, 2020 "Reduction in Sentence / Compassionate Release Comprehensive
                Medical Summary," the section titled "Life Expectancy / Temninal Medical Condition" states that
                Tidweil "has been diagnosed with a terminai medicai condition. Life expectancy is 18 months."34
                Therefore, even without considering the COVID-19 pandemic, extraordinary and compeiiing reasons
                exist to justify reducing Tidweil's sentence.
                2. The Impact of COVID-19 on Tidwell's Terminal Illness
                Moreover, although the government disputes whether Tidweil's stage IV cancer qualifies as a
                terminal illness, the government concedes that his cancer, combined with the COViD-19 pandemic,
                renders him "less able to protect himself against an unfavorable outcome from the disease" and
                constitutes an extraordinary and compelling reason.35 As of August 2,2020, there have been over
                4.6 million confirmed cases of COVID-19 and over 154,000 deaths in the United States alone.36
                "Not all Americans, however, are equally at risk."37 The Centers for Disease Control and Prevention
                ("CDC") has explained that "[pjeople with weakened{2020 U.S. Dist. LEXIS 11} immune systems are
                at higher risk of getting severeiy sick from SARS-CoV-2, the virus that causes COViD-19" and that
                "[tjhey may also remain infectious for a longer period of time than others with COViD-19."38 The


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               CDC has further explained that one condition that "can weaken a person's immune system" is
               "cancer."39 One study concluded that patients with stage IV cancer are 5.58 times more likely to die
               than cancer-free people if they contract COVID-19.40 The CDC has also explained that people with
               Hepatitis C and hypertension "might be at higher risk of severe illness from COVID-19."41
               Because "[p]risons are ill-equipped to prevent the spread of COVID-19," Tidwell's risk increases
               again.42"People residing in close living quarters are especially vulnerable to COVID-19"43 and
               "[j]ails and prisons represent unique and challenging environments in which to implement effective
               Infection-control strategies"44 such as "social distancing, frequently disinfecting shared{2020 U.S.
               Dist. LEXIS 12}surfaces, and frequently washing hands or using hand sanitlzer."45 As the CDC has
               further explained, "[c]orrectional and detention facilities can include custody, housing, education,
               recreation, healthcare, food service, and workplace components in a single physical setting. The
               integration of these components presents unique challenges for control of[COVID-19]transmission
               among incarcerated/detained persons, staff, and visitors."46
                This risk to Tidwell is not hypothetical. Although the rate of COVID-19 infections per 1,000 people In
                the United States is currently 13.55, in BOP facilities that rate is at least 74.13.47 At FMC Butner, at
                least 11 inmates and 15 staff members have tested positive.48 FMC Butner currently houses 886
                inmates49 even{2020 U.S. Dist. LEXIS 13}though its maximum occupancy capacity for inmates is
                743,50 and these crowded conditions increase again Tidwell's risk of transmission.51 Moreover,
                alarming infection rates have also appeared in other facilities on the same BOP complex; 650
                inmates and 16 staff members at Butner Low FCI, 3 inmates and 2 staff members at Butner Medium
                II FCI, and 204 Inmates and 32 staff members at Butner Medium I FCI have tested positive.52
                Altogether, 24 inmates and one staff member at the Butner complex have died from the virus, a
                sobering fact.53 Therefore "[wjithout a doubt, COVID-19 is present at Butner FMC and the larger
                Butner Federal Correctional Complex."54
                In sum,"(tjhe BOP cannot adequately protect [Tidwell]from infection, especially in light of his
                vulnerability and the presence of COVID-19" at FMC Butner.55 Therefore, because (as the
                government concedes)the combination of Tidwell's stage IV prostate cancer and the COVID-19
                pandemic substantially diminishes Tidwell's ability to provide self-care at FMC Butner,{2020 U.S.
                Dist LEXIS 14}"extraordinary and compelling reasons" exist to reduce Tidwell's sentence.
                C. Whether a Sentence Reduction is Consistent with the Section 3553(a) Factors
                Having concluded that "extraordinary and compelling reasons" exist, the Court must still consider the
                relevant§ 3553(a)sentencing factors and "assess whether those factors outweigh the "extraordinary
                and compelling reasons' warranting compassionate release."56 The applicable factors are:
                   (1)the nature and circumstances of the offense and the history and characteristics of the
                     defendant;
                     (2)the need for the sentence imposed-
                     (A)to reflect the seriousness of the offense, to promote respect for the law, and to provide just
                      punishment for the offense;
                     (B)to afford adequate deterrence to criminal conduct;
                     (C)to protect the public from further crimes of the defendant; and
                     (D)to provide the defendant with needed educational or vocational training, medical care, or
                     other correctional treatment in the most effective manner;
                     ...[and](6) the need to avoid unwarranted sentence disparities among defendants with similar

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                     records who have been found guilty of similar conduct[.]57Although the government concedes
                     that there are "extraordinary and compelling reasons," the{2020 U.S. Dist. LEXIS 15}
                     government argues that Tidwell is not entitled to relief based on these factors.
                1. Nature and Circumstances of the Offense and History and Characteristics of the Defendant
                Based on "the extremely violent nature of[Tidwell's] crimes" and Tidwell's criminal history, the
                government argues that this factor weighs heavily against granting Tidwell's request for
                compassionate release.58 The Court agrees that the nature and circumstances of Tidwell's
                underlying offenses are extremely serious and, as the government points out, between 1978~when
                he was 19 years old-and 1994, Tidwell incurred six convictions for offenses including aggravated
                assault, knowing possession of a controlled substance, possession with intent to distribute, carrying a
                firearm without a license, and retail theft.59 However, the Court's evaluation of Tidwell's history and
                characteristics is not frozen in time~the Supreme Court has explained that any review of the §
                3553(a)factors must consider the "most up-to-date picture" of the defendant's "history and
                characteristics," including evidence of rehabilitation.60
                Tidwell has shown significant rehabilitation in prison. During his decades in prison, Tidwell has{2020
                U.S. Dist. LEXIS 16} taken 34 educational courses61 and he has a "minimal, non-violent disciplinary
                record."62 Correctional Counselor T. Pike wrote in a memorandum included in Tidwell's request to
                the BOP for compassionate release that Tidwell "is a model inmate at this institution. His work
                performance is above average and is [reflected] in his work evaluations. His work ethics are a model
                for other inmates. Inmate Tidwell also helps newly incarcerated inmates adjust to prison life by giving
                them guidance and counseling. Inmate Tidwell also maintains a positive attitude with staff and
                peers."63 Tidwell's PATTERN64 score indicates that his "recidivism risk level" is "low."65 In light of
                Tidwell's rehabilitation and model behavior during his incarceration, this factor tilts in favor of
                reducing Tidwell's sentence.
                2. The Need for the Sentence Imposed
               "As to the Section 3553(a)(2)factor, the need for a sentence must be sufficient, but not greater than
               necessary, to serve the purpose of 'just punishment, deterrence, protection of the public, and
               rehabilitation.'"66 The govemment asserts that, based on Tidwell's status as a "violent drug
               offender^," his continued incarceration is necessary.{2020 U.S. Dist. LEXIS 17}67 The Court
                disagrees.
                Tidwell is a terminally ill man who has already served over 25 years in federal custody. This 25-year
                duration "has consumed a large part of his life and by any measure represents a very substantial
                punishment that reflects the seriousness of his offenses and the need for general or specific
                deterrence."68 This lengthy time "is also a period of time that promotes respect for the law and
                provides just punishment for his offenses," even where the defendant was originally sentenced to life
                imprisonment.69
                The government also argues that Tidwell's"medical records belie" that he is too ill to engage in
                criminal activity.70 According to the govemment, because decades ago Tidwell ran a drug operation,
                "regardless of physical state, Tidwell is certainly functionally capable of engaging in the same
                conduct for which he is incarcerated."71 The govemment presents no evidence to support the theory
                that Tidwell would engage in similar conduct after release despite his record as a model inmate and
                while undergoing chemotherapy for stage IV prostate cancer. As almost any inmate, while alive, is at
                least theoretically capable of engaging in{2020 U.S. Dist. LEXIS 18} illegal conduct, the
                government's position would vitiate Congress's clear intent to allow terminally ill inmates to obtain
                compassionate release.



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                Moreover, Tidwell will be able to obtain needed medical care upon release. Tidwell has indicated
                that, if released, he will live with his daughter in Baltimore, Maryland. On Tidwell's Reduction in
                Sentence Release Plan Review, a social worker reported that Tidwell's daughter confirmed that he
                could live at her home, that she is aware of Tidwell's medical condition, and that she is prepared to
                provide support and care for him.72 Tidwell's counsel has stated that Tidwell will continue his cancer
                treatment at either the University of Maryland or Johns Hopkins University.73 Therefore, after
                considering the Section 3553(a)(2)factor, the Court concludes that prolonging Tidwell's incarceration
                under the current conditions would contravene § 3553(a)'s requirement to "impose a sentence
                sufficient, but not greater than necessary to comply with" the statutory purposes of punishment.74
                3. The Need to Avoid Unwarranted Sentencing Dispanties
               "Congress's{2020 U.S. Dist. LEXIS 19} primary goal in enacting § 3553(a)(6) was to promote
               national uniformity in sentencing."75 However,"§ 3553(a)(6) disallows'unwarranted sentence
               disparities,' not all sentence differences."76 Congress originally passed § 3582(c)(1)(A)(i) as a
               "safety valve" to reduce a sentence in "the unusual case in which the defendant's circumstances are
               so changed ... that it would be inequitable to continue the confinement of the prisoner."77 As
               explained above, Congress's unmistakable goal in passing the First Step Act was to "increase the
               use of compassionate release."78 Therefore, when a defendant demonstrates that "extraordinary
                and compelling reasons" warrant a sentence reduction, the ensuing sentence disparity "has been
                authorized by Congress, and is therefore a 'warranted' disparity."79
                Regardless, the "need to avoid unwarranted sentence disparities" is "just one factor (if relevant) that
                should be balanced against the others(again, if relevant)."80 Considering that Tidwell has already
                served close to 26 years in prison and has an estimated 12 months left to live, any sentencing
                disparity that would result from granting Tidwell's motion is outweighed by the factors that support
                Tidwell's compassionate release.81 In sum, the § 3553(a)sentencing{2020 U.S. DIst. LEXIS 20}
                factors do not outweigh the extraordinary and compelling reasons that justify granting Tidwell's
                request for compassionate release.
                D. Whether a Sentence Reduction Is Consistent with the Applicable Sentencing Commission
                Policy Statements
                The relevant Sentencing Commission policy statements require the Court to determine that "the
                defendant is not a danger to the safety of any other person or to the community, as provided in 18
                U.S.C.§ 3142(g)."82 Pursuant to § 3142(g), courts must consider a series of factors-weighing both
                the defendant's possible danger to the community and the defendant's likelihood to appear at
                trial-when deciding whether to release a defendant pre-trial.'The factors that weigh danger to the
                community include 'the nature and circumstances of the offense charged,''the history and
                characteristics of the person,' including 'the person's character, physical and mental condition, family
                ties,... community ties, past conduct, history relating to drug or alcohol abuse,[and] criminal
                history,' and 'the nature and seriousness of the danger to any person or the community that would be
                posed by the person's release."'83
                As explained above, although Tidwell's offenses were extremely{2020 U.S. DIst. LEXIS 21} serious
                and he has an extensive criminal history, after careful consideration of the relevant factors, the Court
                holds that the strong evidence of rehabilitation and of seriously impaired health shows that Tidwell
                does not pose a danger to others. Tidwell is 62 years old with about 12 months left to live, and his
                health is deteriorating rapidly. Tidwell has built a record as a "model inmate," he has minimal
                disciplinary infractions over his many years in prison, and the BOP has designated him as a low risk
                to reoffend. Tidwell has strong family ties, including his two daughters and his brother.84 His family

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                is aware of his prognosis, are prepared to care for him, and he will be living with one of his daughters
                and her famiiy.85 Any risk of harm to the community is further mitigated by the conditions the Court
                will impose on Tidweil's compassionate release-he wiii remain in home confinement and be
                subject to eiectronic monitoring by the United States Probation Office.86
                IV. CONCLUSION

                Tidwell committed grave crimes and was accordingly sentenced to life imprisonment. However,
                Congress has recognized that changed circumstances, such as terminal illness or the totally
                unforeseeable{2020 U.S. DIst. LEXIS 22} COVID-19 pandemic, can justify compassionate release.
                Just two years ago. Congress passed the First Step Act with the intention of increasing the use of
                compassionate release. For the reasons explained at length above, Tidweii has shown that a case
                like his fits squarely within the statute and that compassionate release is warranted. An order will
                be entered.

                ORDER

                AND NOW,this 5th day of August 2020, upon consideration of Tyrone Tidweil's Motion to Reduce
                Sentence[Doc. No. 544], the responses thereto, and all related filings, and for the reasons stated in
                the accompanying Memorandum Opinion, it is hereby ORDERED that the Motion is GRANTED as
                follows;

                      1) Tidweil's prison sentence is REDUCED to time served;
                     2)The Warden of FMC Butner shall RELEASE Tyrone Tidwell(BOP inmate number:
                     48183-066)from custody.
                     3)There being a verified residence and an appropriate release plan in place, this order is stayed
                     for up to fourteen days to make appropriate travel arrangements and to ensure the defendant's
                     safe release. The defendant shall be released as soon as appropriate travel arrangements are
                     made and it is safe for the defendant to travel. There shall be no delay in ensuring travel
                     arrangements{2020 U.S. Dist. LEXIS 23)are made. If more than fourteen days are needed to
                     make appropriate travel arrangements and ensure the defendant's safe release, then the parties
                     shall immediately notify the court and show cause why the stay should be extended.
                     4) Upon his release from FMC Butner, Tidweii shall proceed immediately to his daughter's home
                      in Baltimore, Maryland;
                     5) Upon release from custody, Tidwell shall immediately begin serving the five-year term of
                     supervised release that was imposed at his sentencing;
                     6)While on supervised release. Tidwell shall be placed on home confinement with location
                      monitoring; and
                      7)Within 72 hours of release. Tidweii shall report to the U.S. Probation Office in Maryland by
                      telephone and shall abide by all other conditions of supervised release imposed by the U.S.
                      Probation Office.

                It is so ORDERED.

                BY THE COURT:

                Isl Cynthia M. Rufe
                CYNTHIA M. RUFE,J.



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                                                                           Footnotes




                1

                Presentence Report at 2.
               2

               See United States v. Tldwell. No. 94-353, 2000 U.S. Dist. LEXIS 18759, 2000 WL 1886581, at *1
               (E.D. Pa. Dec. 12, 2000), afTd, 521 F.3d 236(3d Cir. 2008).
                3

                See United States v. Tidwell, 521 F.3d 236, 238(3d Cir. 2008).
               4

                Tidweil, 2000 U.S. Dist. LEXIS 18759, 2000 WL 1886581, at *1. On July 3, 2017, this case was
                reassigned to this Court. See Doc. No. 526.
                5

                United States v. Van Sickle. No. 18-250, 2020 U.S. Dist. LEXIS 80854, 2020 WL 2219496, at *3
               (W.D. Wash. May 7,2020)(citing United States v. Penna, 319 F.3d 509, 511 (9th Cir. 2003)).
               6

                United States v. Hill. 19-38, 2020 U.S. Dist. LEXIS 87751, 2020 WL 2542725, at *1 (D. Conn. May
                19, 2020)(citing United States v. Almontes, 2020 U.S. Dist. LEXIS 62524, 2020 WL 1812713, at *1
               (D. Conn. April 9, 2020)).
                7

                United States v. Bogdanofl. No. 12-0190-1, 2020 U.S. Dist. LEXIS 81278, 2020 WL 2307315, at *3
               (E.D. Pa. May 8, 2020).
               8

                Shon Hopwood, Second Looks & Second Chances,41 CARDOZO L. REV.83,100(2019)(citation
                omitted); see also United States v. Osorto, No. 19-381,2020 U.S. Dist. LEXIS 82661, 2020 WL
                2323038, at *3(N.D. Cal. May 11, 2020).
                9

                United States v. Conneil, No. 18-281, 2020 U.S. Dist. LEXIS 81642, 2020 WL 2315858, at *2(N.D.
                Cal. May 8, 2020).
                10

                2020 U.S. Dist. LEXIS 81642,[WL]at 1.
                11

                Hopwood, supra note 8, at 101.
                12

                Osorto, 2020 U.S. Dist. LEXIS 82661, 2020 WL 2323038, at *4.
                13

                Hopwood,supra note 8, at 106.
                14

                United States v. Scparta, No. 18-578, 2020 U.S. Dist. LEXIS 68935, 2020 WL 1910481, at *7
                (S.D.N.Y. Apr. 20,2020)(quoting Pub. L. No. 115-391,132 Stat. 5339(2018)).

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                15

                United States v. Cassidy, No. 17-116S, 2020 U.S. Dist. LEXIS 72439. 2020 WL 1969303, at *2
               (W.D.N.Y. Apr. 24. 2020)(citing 18 U.S.C.§ 3582 (c)(1)(A)(i)).
                16

                Connell, 2020 U.S. Dist. LEXIS 81642. 2020 WL 2315858. at *4(quoting United States v. Russo, No.
                16-441. 2020 U.S. Dist. LEXIS 65390. 2020 WL 1862294. at *1 (S.D.N.Y. Apr. 14. 2020)).
                17

                Ex. A. Motion to Reduce Sentence[Doc. No. 545].
                18

                Ex. B, Government's Response In Opposition to Tldwell's Motion to Reduce Sentence[Doc. No.
                552-2).
                19

                Ex. B, Motion to Reduce Sentence[Doc. No. 545).
                20

                A denial of a compassionate release request by the General Counsel of the BOP "constitutes a final
                administrative decision" and "an inmate may not appeal the denial through the Administrative
                Remedy Procedure." 28 C.F.R.§ 571.63(d).
                21

                Government's Response In Opposition to Tldwell's Motion to Reduce Sentence[Doc. No. 552] at 14.
                22

                See United States v. Smith. No. 07-3038. 2020 U.S. Dist. LEXIS 95461. 2020 WL 2844222. at *7
               (N.D. Iowa June 1. 2020).
                23

                ld.{2020 U.S. Dist. LEXiS 7}
                24

                United States v. Ebbers, No. 02-1144-3.432 F. Supp. 3d 421. 2020 WL 91399. at *7(S.D.N.Y. Jan.
                8. 2020).
                25

                Osorto, 2020 U.S. Dist. LEXIS 82661. 2020 WL 2323038, at *4('The First Step Act made no change
                to the substantive standard for compassionate release eligibility.").
                26

                Hopwood. supra note 8. at 107.
                27

                For example, suppose that Tidwell had filed the instant motion on February 23.2020. after
                COVID-19 cases had been diagnosed in several states, and based on the govemment's position, the
                Court immediately denied the motion. See Daniel B. Jernigan. et. al.. CENTERS FOR DISEASE
                CONTROL AND PREVENTION. Update: Puttie Health Response to the Coronavirus Disease 2019
                Outbreak - United States, February 24, 2020, https://www.cdc.gov/mmwr/volumes/69/wr/mm6908e1
                htm (last visited August 3. 2020). If Tidwell then filed a new request to the BOP that included the risk
                of COVID-19 and, after 30 days without the warden acting on the request, filed a new motion In this
                Court that included an increased new risk based on COVID-19 infiltrating the federal prison system
                on March 21, 2020 and the Butner Federal Correctional Complex on March 30, 2020. according to


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                the government's position, the Court would again have to deny Tidwell's motion in order to allow the
                BOP to evaluate how the more particularized risk of COVID-19 in the prison system Impacts him.
                See Michael Balsamo, First Federal Inmate Tests Positive for Coronavirus, AP Reports,
                BLOOMBERG,
                https://www.bloomberg.eom/news/articles/2020-03-21/ap-excluslve-1st-fed-lnmate-tests-posltive-for-
                coronavirus(March 21, 2020); Jonas Pope IV, Two inmates at federal prison in NC test positive for
                COVID-19, NEWS AND OBSERVER.
                https://www.newsobserver.com/news/coronavirus/article241631776 html (March 30, 2020). This
                cycle could keep repeating Itself based on when the first federal prisoner died from COVID-19, see
                Bill Hutchlnson, 1st federal inmate dies in prison hit hard by coronavirus after heartbreaking plea to
               judge. ABC NEWS,
               https://abcnews.go.com/US/1st-federal-lnmate-dies-prison-hit-hard-coronavirus/story?id=69996161
               (April 7, 2020), when a study first showed that cancer patients appear more vulnerable to COVID-19,
               see M. Dal, et al.. Patients with Cancer Appear More Vulnerable to SARS-COV-2: A Multi-Center
               Study During the COVID-19{2020 U.S. Dist. LEXIS 8} Outbreak, 10 CANCER DISCOVERY 6(Apr.
                28, 2020), https://cancerdiscovery.aacrjournals.0rg/content/l0/6/783?lss=6, when reports indicate
                that six inmates at the Butner complex died from COVID-19 over an eight-day period, see Dan Kane,
                Butner Federal Prison Begins Mass COVID Testing After Six Inmates Die in Eight Days, NEWS AND
                OBSERVER (June 3, 2020), https://www.newsobserver.com/news/coronavirus/artlcle243210251
                html, or, at any time, if TIdwell obtains a new diagnosis showing that his cancer is progressing even
                more quickly than his previous diagnoses showed. Congress did not intend for situations where
                prisoners-Including those like TIdwell with just months left to live-can be trapped in a never-ending
                loop of attempting to exhaust their administrative remedies.
                28

                FEDERAL BUREAU OF PRISONS, COVID-19 Home Confinement InformaUon,
                https://www.bop.gov/coronavirus/(last visited August 3, 2020).
                29

                See United States v. Rodriguez, No. 03-271-1, 2020 U.S. Dist. LEXIS 58718, 2020 WL 1627331, at
                *3(E.D. Pa. Apr. 1, 2020)(citing 28 U.S.C.§ 994(t)): see also United States v. Perez, No. 17-513-3,
                2020 U.S. Dist. LEXIS 57265, 2020 WL 1546422, at *4(S.D.N.Y. Apr. 1, 2020).
                30

                U.S.S.G. § 1B1.13, comment n.1.
                31

                Id.
                32

                Id.
                33

                Id.
                34

                Ex. C, Government's Response In Opposition to Tidwell's Motion to Reduce Sentence[Doc. No. 553]
                at 320; see also id. at 29; Ex. B, Govemment's Response In Opposition to Tidwell's Motion to
                Reduce Sentence[Doc. No. 552-2] at 12(warden explaining that: "Medical staff indicate inmate
                Tidwell has been diagnosed with a terminal condition. Inmate TIdwell has been diagnosed with Stage
                IV Prostate Cancer. Medical staff Indicate his prognosis Is eighteen months or less.").
                35



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                Government's Response in Opposition to Tidwell's Motion to Reduce Sentence[Doc. No. 552]at 24.
                The government argues that Tidwell does not have a terminal illness because the BOP Medical
                Director concluded that although Tidwell "does have a diagnosis of stage IV prostate cancer, he does
                not have end-of-life indicators that would establish a prognosis of terminal at this time." Ex. B,
                Govemment's Response in Opposition to Tidwell's Motion to Reduce Sentence[Doc. No. 552-2] at
                14. However, in addition to the prison medical staff determining that Tidwell had a life expectancy of
                18 months, the Sentencing Commission's policy statement provides that"a specific prognosis of life
                expectancy" is not required and the BOP Medical Director conceded that Tidwell suffers from stage
                IV prostate cancer.
                36

                CENTERS FOR DISEASE CONTROL AND PREVENTION, Cases of Coronavirus Disease
               (COVID-19) in the U.S., https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us html
               (last visited August 3, 2020).
                37

                Martinez-Brooks v. Easter. 20-00569, 2020 U.S. Dist. LEXIS 83300, 2020 WL 2405350, at *3(D.
                Conn. May 12, 2020).
                38

                CENTERS FOR DISEASE CONTROL AND PREVENTION, if You Ate Immunocompromised,
                Protect Yourself From COVID-19,
                https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/immunocompromised.html (last
                visited August 3, 2020).
                39

                Id.
               40

                See Dai, et al., supra note 27; see also United States v. Fandel, No. 12-3009, 2020 U.S. Dist. LEXIS
                132418, 2020 WL 4284802, at *5(N.D. Iowa July 27, 2020)(explaining that "numerous other courts
                have found that serious, active cancer is a health condition \^ich, amid the pandemic, presents an
                extraordinary and compelling reason for release.").
                41

                CENTERS FOR DISEASE CONTROL AND PREVENTION, What to Know About Liver Disease and
                COVID-19, https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/liver-disease html
               (last visited August 3, 2020)(hepatitis C); CENTERS FOR DISEASE CONTROL AND
                PREVENTION,People with Certain Medical Conditions,
                https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-conditions
                html (last visited August 3, 2020)(hypertension).
                42

                Rodriguez, 2020 U.S. Dist. LEXIS 58718, 2020 WL 1627331, at *8.
                43

                Gregg S. Gonsalves, et al., Achieving a Fair and Effective COVID-19 Response: An Open Letter to
                Vice-President Mike Pence, and other Federal, State and Local Leaders from Public Health and
                Legal Experts in the United States,(March 2, 2020),
                https://law.yale.edu/sites/default/files/area/center/ghjp/documents/final_covid-19Jetter_fromj3ublic_
                health and_legal_experts.pdf.
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                Joseph A. Bick, Infection Control in Jails and Prisons, 45(8) CLINICAL INFECTIOUS DISEASES
                1047-1055,(Oct. 15, 2007), htlps://cloi.org/10.1086/521910.
                45

                Rodriguez, 2020 U.S. Dist. LEXIS 58718, 2020 WL 1627331, at *8 (citing CENTERS FOR DISEASE
                CONTROL AND PREVENTION, How to Protect Yoursell,
                https;//wvvw.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/prevention.html; Dr. Asaf Bitten,
                Social distancing in the coronavirus pandemic - maintaining public health by staying apart, BOSTON
                GLOBE (Mar. 14, 2020),
                https://www.bostonglobe.com/2020/03/14/opinion/social-distancing-coronavirus-panclemic-maintainin
                g-public-health-by-staying-apart/).
                46

                CENTERS FOR DISEASE CONTROL AND PREVENTION, Interim Guidance on Management ol
                Coronavirus Disease 2019(COVID-19)in Correcttonal and Detention Facilities,
                https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-d
                etention.html (last visited August 3, 2020).
                47

                See BOP-Reported Positive Tests for COVID-19 Nationwide, Federal Defenders of New York,
                https://federaldefendersny.org/(last visited August 3, 2020).
                48

                FEDERAL BUREAU OF PRISONS, COVID-19 Cases, https://www.bop.gov/coronavirus/(last visited
                August 3, 2020): Smith, 2020 U.S. Dist. LEXIS 95461, 2020 WL 2844222, at *11; see also United
                States V. Raia, 954 F.3d 594, 597(3d CIr. 2020)(explaining that "the mere existence of COVID-19 in
                society and the possibility that it may spread to a particular prison alone cannot independently justify
                compassionate release."). There are six inmates and two staff members at FMC Butner who are
                currently positive for COVID-19.
                49

                FEDERAL BUREAU OF PRISONS, Population Statistics: Inmate Population Breakdown,
                https://www.bop.gov/mobile/about/population statistics.jsp (last visited August 3, 2020).
                50

                BUREAU OF JUSTICE ASSISTANCE,PREA Audit Report,
                https://www.bop.gov/locations/institutions/buh/PREA butner.pdf(last visited August 3, 2020).
                51

                Gonsalves, et al., supra note 45(explaining that "[pjeople residing in close living quarters are
                especially vulnerable to COVID-19.").
                52

                FEDERAL BUREAU OF PRISONS, COVID-19 Cases, https://www.bop.gov/coronavirus/(last visited
                August 3. 2020); see also Smith, 2020 U.S. Dist. LEXIS 95461, 2020 WL 2844222, at *11.
                53

                See id.
                54

                Smith, 2020 U.S. Dist. LEXIS 95461, 2020 WL 2844222, at *11; see also United States v. Myies, No.
                11-253, 2020 WL 4350604, at *3(M.D. Tenn. July 29, 2020). The government argues that FMC
                Butner should be viewed in isolation and that the Court should not consider "notable outbreaks" at


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                the other facilities on the campus. See Govemment's Response in Opposition to Tldweil's Motion to
                Reduce Sentence[Doc. No. 552]at 25 n.17. However, the outbreaks at the Butner complex began at
                one prison and then spread to another one of the prisons. See Butner Federal Prison Begins Mass
                COVID Testing After Six Inmates Die in Eight Days, supra note 28("The complex's first major
                outbreak happened at one of its two medium-security prisons, then spread to an adjacent
                minimum-security camp."). Moreover, the government concedes that "[ujnfortunately and inevitably,
                many inmates at various institutions have become ill, and more likely will in the weeks ahead." See
                Government's Response in Opposition to Tidwell's Motion to Reduce Sentence[Doc. No. 552]at 19.
                55

                Rodriguez, 2020 U.S. Dist. LEXIS 58718, 2020 WL 1627331, at *9.
                56

                Ebbers, 432 F. Supp. 3d 421, 2020 WL 91399, at *7.
                57

                Rodriguez. 2020 U.S. Dist. LEXIS 58718, 2020 WL 1627331, at *11-12(quoting 18 U.S.C.§
                3553(a)).
                58

                Government's Response in Opposition to Tidwell's Motion to Reduce Sentence[Doc. No. 552] at
                26-27.
                59

                See Presentence Report at 9-11.
                60

                Pepper V. United States. 562 U.S. 476,491-92,131 S. Ct. 1229, 179 L. Ed. 2d 196(2011); see also
                United States v. Parker. No. 98-749, 2020 U.S. Dist. LEXIS 89904, 2020 WL 2572525, at *11 (C.D.
                Cal. May 21, 2020). Although Congress has provided that "[r]ehabilitation of the defendant alone
                shall not be considered an extraordinary and compelling reason," 28 U.S.C.§ 994(t), "rehabilitation
                may be considered with other factors." Rodriguez, 2020 U.S. Dist. LEXIS 58718, 2020 WL 1627331,
                at *10(quoting United States v. Brown, 411 F. Supp. 3d 446, 449(S.D. Iowa 2019)); see also
                Hopwood, supra note 8, at 103("Congress no doubt limited the ability of rehabilitation alone to
                constitute extraordinary circumstances, so that sentencing courts could not use it as a full and direct
                substitute for the abolished parole system. Congress, however, contemplated that rehabilitation could
                be considered with other extraordinary and compelling reasons sufficient to resentence people in
                individual cases. Indeed, the use of the modifier 'alone' signifies that rehabilitation could be used in
                tandem with other factors to justify a reduction.").
                61

                Ex. E, Motion to Reduce Sentence[Doc. No. 545].
                62

                United States v. Decator, No. 95-202, 2020 U.S. Dist. LEXiS 60109, 2020 WL 1676219, at *4(D. Md.
                Apr. 6, 2020). Prison records show that Tidwell has been sanctioned just 4 times-in 1998 for being
                absent from a work assignment, in 1999 for refusing a work assignment, in 2010 for refusing to obey
                an officer, and in 2019 for receiving money from another inmate's family. See Ex. A, Govemment's
                Response in Opposition to Tidwell's Motion to Reduce Sentence[Doc. No. 552-1].
                63

                Ex. F, Motion to Reduce Sentence[Doc. No. 545].
                64



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                Prisoner Assessment Tool Targeting Estimated Risk and Needs. According to the BOP's website,
                "[t]he risk and needs assessment system is used to determine the risk and needs of inmates in BOP
                custody. Specifically, the system determines the recidivism risk of each inmate and assigns a
                recidivism risk score of minimum, low, medium, or high risk. The system also assesses each inmate
                and determines, to the extent practicable, the inmate's risk of violent or serious misconduct."
                FEDERAL BUREAU OF PRISONS, First Step Act - Frequently Asked Questions,
                https;//www.bop.gov/inmates/fsa/faq.jsp#fsa system (last visited June 12, 2020).
                65

                 Ex. G, Motion to Reduce Sentence[Doc. No. 545].
                66

                United States v. Regas, 91-57,2020 U.S. Dist. LEXIS 98402, 2020 WL 2926457, at *5(D. Nev. June
                3, 2020)(quoting Dean v. United States. 137 S. Ct. 1170, 1175,197 L. Ed. 2d 490(2017)); see also
                Parker. 2020 U.S. Dist. LEXIS 89904, 2020 WL 2572525, at *12.
                67

                Government's Response in Opposition to Tidwell's Motion to Reduce Sentence[Doc. No. 552]at 27.
                68

                Regas. 2020 U.S. Dist. LEXIS 98402, 2020 WL 2926457, at *5(quoting Parker. 2020 U.S. Dist.
                LEXIS 89904, 2020 WL 2572525, at *12).
                69

                Id. (granting compassionate release to a defendant found guilty of CCE who served 27 years of a life
                sentence)(quoting Parker. 2020 U.S. Dist. LEXIS 89904, 2020 WL 2572525, at *12)(granting
                compassionate release to a fonner narcotics officer who formed a drug gang and served 22 years of
                his life sentence); see also United States v. Gray. 416 F. Supp. 3d 784, 790(S.D. Ind. 2019)
                (granting compassionate release to an inmate who served "nearly two decades" of a life sentence);
                 United States v. Wong ChiFai. No. 93-1340, 2019 U.S. Dist. LEXiS 126774, 2019 WL 3428504, at
                *4(E.D.N.Y. July 30, 2019)(granting compassionate reiease to a terminaliy ill inmate who served 26
                years of his life sentence): United States v. Pickard. No. 00-40104, 2020 U.S. Dist. LEXIS 131749,
                2020 WL 4260634, at *5(D. Kan. July 24, 2020)("Pickard's offenses were serious, but having spent
                two decades in prison he has been seriously punished."); United States v. Gluzman. No. 96-323,
                2020 U.S. Dist. LEXIS 131749, 2020 WL 4233049, at *18(S.D.N.Y. July 23, 2020).
                70

                Government's Response in Opposition to Tidwell's Motion to Reduce Sentence[Doc. No. 552]at 27.
                71

                Id.
                72

                See Ex. B, Government's Response in Opposition to Tidweli's Motion to Reduce Sentence[Doc. No.
                552-2] at 6-7. Tidweil's counsel has informed the Court that a United States Probation Officer in the
                 District of Maryiand has performed a home assessment and has approved the residence. See
                Tidwell's Motion to Reduce Sentence[Doc. No. 544]at 21 n.72.
                73

                Tidwell's Reply to Government's Response to Motion to Reduce Sentence [Doc. No. 555] at 11. The
                government argues that Tidweil's "prostate cancer is appropriately managed at the facility, and likely
                even better managed than it would be if he were left to fend for himself and find treatment on his
                own." Government's Response in Opposition to Tidwell's Motion to Reduce Sentence[Doc. No. 552]

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                at 25. The inquiry, however, is not whether the prison is abie to manage the defendant's medicai
                conditions; rather the Court must determine whether incarceration is needed to provide the
                defendant with necessary medicai care. As Tidweii has represented that he wili be continue his
                treatment at either the University of Maryiand or Johns Hopkins University-both exceilent
                hospitais-Tidweil does not need to remain in prison to receive care.
                74

               Rodriguez, 2020 U.S. Dist. LEXIS 58718, 2020 WL 1627331, at *12(quoting 18 U.S.C.§ 3553(a)).
               The government appears to argue that continued incarceration is necessary t)ecause Tidweii would
               be more at risk of contracting COVID-19 in Baltimore than in federal custody. See Government's
               Response in Opposition to Tidwell's Motion to Reduce Sentence[Doc. No. 552]at 25-26. In support,
               the government relies on the total number of GOVID-19 cases in Baltimore. See Id. at 26. However,
               the government faiis to appreciate that Baitimore has a population of about 593,490 whiie there are
               only 128,601 federal inmates across all BOP-managed institutions and 886 inmates at FMC Butner.
               See United States Census Bureau, QuIckFacts, Baltimore city, Maryland (County),
               https;//www.census.gov/quickfacts/fact/table/baltimorecitymarylandcounty/AGE295218 (last visited
               August 3, 2020); Federal Bureau of Prisons, COVID-19 Cases, https://www.bop.gov/coronavirus/
               (last visited August 3,2020). Regardless, upon release, Tidweii wrill be confined to his daughter's
               home where he will able to socially distance from all non-family members while, on the Butner
                complex, the BOP has been unable to stop the spread of COVID-19.
                75

                United States v. Parker. 462 F.3d 273, 277(3d Cir. 2006)(citations omitted).
                76

                United States v. Boscarino,437 F.3d 634,638(7th Cir. 2006)(emphasis added by Seventh Circuit).
                77

                8. Rep. No. 98-225, at 121 (1983).
                78

                E/Jters, 432 F. Supp. 3d 421, 2020 WL 91399, at *7.
                79

                United States v. Gutierrez. 251 F. App'x 804, 806(3d Cir. 2007)(quoting United States v. Vargas,
                477 F.3d 94, 98 & n.9(3d Cir. 2007)); Cf. United States v. Arrelucea-Zamudio, 581 F.3d 142,151 (3d
                Cir. 2009)(explaining that "express congressional... directive[s]" can "constrain a sentencing
                judge's discretion to vary from the Guidelines.").
                80

                United States v. Jones, 326 F. App'x 90, 92(3d Cir. 2009)(quoting United States v. Cfiarles, 467
                F.3d 828,833(3d Cir. 2006)); see also Pepper, 562 U.S. at 504 (explaining that courts should not
                "elevate" this factor "above all others.").
                81

                The Court also notes that Tidwell's sentence cannot be compared to those of other defendants with
                similar offense profiles because Tidwell's incarceration has been significantly more uncomfortable
                and challenging than most inmates' due to his health conditions, which are not shared by the majority
                of similar defendants. See United States v. McGraw, No. 02-18, 2019 U.S. Dist. LEXIS 78370, 2019
                WL 2059488, at *5(S.D. Ind. May 9, 2019)("Finally, Mr. McGraw has served much of his sentence
                while seriously ill and in physical discomfort. This means that his sentence has been significantly
                more lat>orious than that served by most inmates."); see also United States v. Beck,425 F. Supp. 3d
                573, 586(M.D.N.C. 2019).

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                82

                U.S.S.G. § 1B1.13(2).
                83

                Rodriguez, 2020 U.S. Dist. LEXIS 58718, 2020 WL 1627331, at "11 (quoting 18 U.S.C.§ 3142(g)).
                84

                See Ex. 6, Government's Response in Opposition to Tidweii's Motion to Reduce Sentence[Doc. No.
                552-2] at 4.
                85

                See id. at 6-7.
                86

                See Hill, 2020 U.S. Dist. LEXIS 87751, 2020 WL 2542725, at *3. Ttie Court also notes that
                determining that "extraordinary and compelling reasons" justify reducing Tidweii's sentence is
                consistent with the Sentencing Commission's policy statement that metastatic solid-tumor cancer
                constitutes a terminal illness that warrants a sentence reduction. See U.S.S.G.§ 1B1.13, comment
                n.1.




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